Case 1:24-md-03119-MLG-LF   Document 132-3   Filed 02/24/25   Page 1 of 3




                            Exhibit 3
   Case 1:24-md-03119-MLG-LF             Document 132-3         Filed 02/24/25     Page 2 of 3




                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

IN RE: SHALE OIL ANTITRUST LITIGATION                      Case No. 1:24-md-03119-MLG-LF

This documents relates to all actions.



      DECLARATION OF JASON WILEY IN SUPPORT OF DEFENDANTS HESS
          CORPORATION’S AND JOHN HESS’S MOTION TO DISMISS

       I, Jason Wiley, declare as follows:

       1.      I make this declaration in support of Defendants Hess Corporation’s (“Hess”) and

John Hess’s Motion to Dismiss. I have personal knowledge of the facts set forth herein and, if

called upon to do so, I could and would competently testify thereto.

       2.      I am an Associate General Counsel at Hess. I have been employed by Hess for

approximately 15 years.

       3.      Hess is a publicly traded Delaware corporation headquartered in New York. Its

Texas office is the base of its global exploration-and-development operations.

       4.      Hess’s domestic crude oil production operations are located in North Dakota’s

Bakken shale formation and offshore in the Gulf of Mexico.

       5.      Since at least January 1, 2021, Hess has not manufactured, sold, shipped, or

delivered crude oil to California, Nevada, or New Mexico, or otherwise transacted business in

these states. Since at least January 1, 2021, it has had no employees, offices, operations, or

properties in California, Nevada, or New Mexico.




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   Case 1:24-md-03119-MLG-LF             Document 132-3         Filed 02/24/25       Page 3 of 3




       6.      Hess owned a carbon dioxide production field and related operations in New

Mexico until 2017, when those assets were sold. It also owned limited drilling and production

assets in California until approximately 1999.

       7.      Hess delivers its shale crude oil primarily via pipeline to Patoka, Illinois or

Nederland, Texas where it is sold to third-party buyers or sent via cargo to international markets.

       8.      Mr. Hess resides in New York. Since at least January 1, 2021, he has not

conducted any business on Hess’s behalf in either Nevada or New Mexico.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on February 24, 2025, in Houston, Texas.




                                                     _____________________________________
                                                                 JASON WILEY




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